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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


    UNITED STATES OF AMERICA                           CRIMINAL ACTION
    VERSUS                                             NO:   18-0158
    BRIDGET LAMBERT                                    SECTION "S"


                                ORDER OF TRANSFER

          It appears from the record that the above captioned case

   involves subject matter that comprises a material part of the

   subject matter of United States of America v. Jody Lambert,

   Criminal Action No. 18-0160, a case before Judge Carl J. Barbier.

   IT IS ORDERED that this case be and hereby is TRANSFERRED to

   Judge Carl J. Barbier, Section J, of the United States District

   Court for the Eastern District of Louisiana.

          IT IS FURTHER ORDERED that the sentencing hearing scheduled

   for October 3, 2019 is continued to October 17, 2019 at 9:30 a.m.

   before Judge Carl J. Barbier.

          New Orleans, Louisiana, this 2nd day of October, 2019.


                     ____________________________________
                             MARY ANN VIAL LEMMON
                         UNITED STATES DISTRICT JUDGE
10/2/19
2/15/05
